Case: 1:13-cr-00345-CAB Doc #: 1081 Filed: 12/10/14 1 of 1. PageID #: 7630




                          UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION



 UNITED STATES OF AMERICA,                )       CASE NO. 1:13cr345-51
                                          )
                                          )
                      Plaintiff,          )       JUDGE CHRISTOPHER A. BOYKO
                                          )
               Vs.                        )
                                          )
 ANTWONE NOWDEN,                          )      ORDER ADOPTING
                                          )      REPORT AND RECOMMENDATION
                                          )      OF MAGISTRATE JUDGE
                                          )
                     Defendant.           )


       The above Defendant, accompanied by counsel, proffered a plea of guilty

 before Magistrate Judge McHargh to Count One in the Indictment. The Court finds that

 the Defendant’s proffer of guilt was made under oath knowingly, intelligently and

 voluntarily and that all requirements imposed by the United States Constitution and

 Fed.R.Crim.P. 11 are satisfied. THEREFORE, the Court adopts the Report and

 Recommendation of Magistrate Judge McHargh, approves the plea agreement, accepts

 the Defendant’s offer of guilt and finds the Defendant guilty as charged in the Indictment.

       The signed Plea Agreement shall be filed as of the date of this Order.



       IT IS SO ORDERED.

                                                 s/Christopher A. Boyko
 Date 12/10/2014                                 CHRISTOPHER A. BOYKO
                                                 United States District Judge
